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IN THE UNITED sTATEs I)ISTRICT CoURT SEP n g 2002
EASTERN DISTRICT or ARKANSAS

PINE BLUFF DIVISION S¢'MES MMCCLMQEK! z 1
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FRANKIE EVELYN FOREMAN PETITIONER
VS. CASE NO. 4:02CV00338 HDY

LARRY NORRIS, Director of the
Arkansas I)epartment of Correction RESPONDENT
FINDINGS AND RECOMMENDATION

Now before the Court is the application for Writ of habeas corpus pursuant to 28 U.S.C.
§2254 from Frankie Evelyn Foreman, an inmate in the custody of the Arkansas Departrnent of
Correction (ADC) as a result of his conviction following a 1998 jury trial in Pulaski County
Circuit Court on the charge of unlawful discharge of a firearm from a vehicle Petitioner was
sentenced to 360 months’ imprisonment A direct appeal Was unsuccessful Petitioner
subsequently sought postconviction relief pursuant to A.R.Cr.P. 37, alleging three instances of
ineffective assistance of counsel. The trial court denied relief. Mr. Foreman filed a notice of
appeal, but failed to lodge the appellate record on time. Four days before the time to lodge the
record Was to expire, the petitioner moved for an extension of time. The trial court did not
receive the request in a timely manner and did not rule on the motion prior to the deadline for
lodging the record. The petitioner sought a belated appeal, arguing that an extension of time Was
granted by the trial judge after the time for lodging the record had expired The Arkansas

Supreme Court denied the request for belated appeal, holding that the order extending the time

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came too late.
ln the petition now before the Couit, the following grounds for relief are advanced:
l. He received ineffective assistance of counsel when his attorney failed to
argue that the nature of Foreman’s crime was not gang~related and, therefore, was
not consistent with the intent of the anti~gang activity act under which he was
charged;
2. He received ineffective assistance of counsel when his attorney did not
Subpoena a Little Rock police detective to discredit the victim with the fact that he
did not specifically tell the detective that Foreman was fn a car when he shot the

victim at the car Wash; and

3. He received ineffective assistance of counsel when his attorney did not
request an instruction on the offense of battery in the first degree.

The respondent contends that all three grounds are procedurally defaulted due to the
petitioner’s failure to adequately pursue these claims in state court. See Waz`nwrz'ght v. Sykes, 433
U.S. 72 (1977). The Court recognizes that the procedural default analysis can be used in this
setting. lt is not, however, mandatory to utilize such an approach In considering this issue, we
are guided by the following language of the Eighth Circuit Court of Appeals:

In cases such as this, it might well be easier and more efficient to reach the

merits than to go through the studied process required by the procedural default
doctrine Recent commentary points up the problems with the cause and prejudice

standard:
[T]he decision tree for habeas review of defaulted claims is intricate and
costly. . . . In essence, Sykes and Stri'ckland require habeas lawyers and

federal judges and magistrates to work through the equivalent cfa law
school exam every time a defendant tries to escape procedural default

McKi'nnon v. Lockhart, 921 F.2d 830, 833 n.7 (Sth Cir. 1990) (quoting Jeffries & Stuntz,
Inej‘ectz`ve Assistance and Procedural Defaulr in Federal Habeas Corpus, 57 U.Chi.L.Rev. 679,
690 (1990)). In this instance, the Court finds it more efficient to proceed to the merits of the

claims advanced by Mr. Foreman.

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The petitioner first argues that his trial attorney was ineffective for failing to argue that
the nature of the crime was not gang-related and, therefore, was not consistent with the intent of
the anti-gang activity act under which he was charged In order to prove ineffective assistance of
counsel, petitioner must prove that (l) his attorney's actions were unreasonable when viewed in
the totality of the circumstances; and (2) he was prejudiced because there is a reasonable
probability that, but for counsel's unprofessional errors, the result of the trial would have been
different Strickland v. Washington, 466 U.S. 688 (1983); Ryder v_ Morrfs, 752 F.2d 327, 331
(8th Cir. 1985). The petitioner bears a heavy burden in overcoming "a strong presumption that
counsel's conduct falls within the wide range of reasonable professional assistance." Strickland,
466 U.S. at 689; Kellogg v. Scurr, 741 F.2d 1099, 1101 (8th Cir. 1984); Be!l v. Lockhart, 741 F.2d
1105, 1106 (8th Cir. 1984). This presumption is created to "eliminate the distorting effects of
hindsight," and recognizes that "it is all too easy for a court, examining counsel's defense after it
has proved unsuccessful, to conclude that a particular act or omission of counsel was
unreasonable." Stricklana’, 466 U.S. at 689; Ryder, 752 F.2d at 331.

The Court has carefully reviewed the trial transcript and finds the petitioner has not
Shown his trial counsel performed deficiently by failing to argue the intent of the statute The
record shows that petitioner was charged under Ark. Code Ann. §5-74-107. See Respondent’s
Exhibit l to Docket Entry no. 3, p. 20. The jury was instructed consistent with the statute P.
221, Exhibit 1 to Docket Entry no. 3. Gang activity is not an element of the crime, and petitioner
does not establish it was advisable for his counsel to inject the issue of gangs into the trial. Even
if Mr. Foreman’s counsel had chosen to introduce gang activity into the trial and been able to

conclusively show the petitioner was not involved in any gang activity, this would not have

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benefitted the petitioner. A strong argument could be made that proving petitioner was not
involved in gang activities may have aroused suspicions among the jurors. In any event, we find
trial counsel did not act unreasonably in choosing not to argue the intent of the statute Thus,
petitioner fails to establish the first prong of the Strickland analysis Even if we were to assume
error by the trial attorney in this regard, there is no showing that the second prong of Srrickland
has been satisfied. Stated another way, the outcome of the trial would not have been changed if
petitioner’s counsel had chosen the path urged by Mr. Foreman. There is no merit to the first
claim of ineffective assistance of counsel.

The second ground for relief advanced by Mr. Foreman is that his attorney was
ineffective for failing to subpoena a Little Rock police detective to discredit the victim with the
fact that the victim did not specifically tell the detective that Mr. Foreman was fn a car when he
shot the victim. The Strr'ckland v. Washr'ngton analysis, previously cited, applies to this claim.
As with the first claim for relief, the petitioner fails to demonstrate his attorney acted
unreasonably The trial record shows that the victim, Patrick Donley, repeatedly testified that
Mr. Foreman shot him while Foreman Was in a vehicle at a car wash in Little Rock,l Mr. Donley
acknowledged that his statement to the police, given just after he was shot, did not specifically
indicate that Frankie Foreman was in a car at the time of the shooting He further conceded that
he did not tell the nurse at the hospital that Mr. Foreman was in a car. Thus, the jury knew that

the victim’s initial statements were that Frankie Foreman shot him but that these statements did

 

lAccording to Mr. Donley, “Frankie Foreman was sitting in his car when he shot me.” Page
135, Exhibit l to Docket Entry 3.

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not specify precisely where Foreman was at the time of the shooting.2 The jury further knew that
Donley was unequivocal at trial as to the shooter and the shooter’s location at the time of the
shooting lt was not unreasonable for Mr. Foreman’s attorney to choose not to call a witness who
would offer only cumulative testimony. Even if we were to assume attorney error in failing to
call the detective, no prejudice resulted from the omission The transcript shows the victim was
unwavering in identifying Mr. Foreman as the shooter. At most, the testimony of the detective
would have reiterated that the victim didn’t give all the details immediately after he was shot
from close range The pivotal testimony against Mr. Foreman would not have been challenged
even if the detective had testified as described by the petitioner. There is no merit to his second
claim of ineffective assistance of counsel.

The final ground pressed by Mr. Foreman is that his attorney failed by not requesting an
instruction on the offense of battery in the first degree We again apply 'l`he Strz'ckland v.
Washington standard in this case, and find no merit to this claim. Mr. Foreman can show no
prejudice even assuming it was error to not request an instruction on battery in the first degree
The jury was instructed on two offenses: unlawful discharge of a firearm from a vehicle in the
first degree, and the lesser included offense of unlawful discharge of a firearm from a vehicle in
the second degree Respondent’s Exhibit 1 to Docket Entry no. 3, pp. 219-222. The evidence
adduced at trial supported the jury’s verdict on the charge of unlawful discharge of a firearm
from a vehicle in the first degree The jury’s verdict reflects a finding that Mr. Foreman

“knowingly” shot the victim; if the jury had determined the act was “recklessly” done, the second

 

2'l`he victim explained that his initial statements were very brief due to the extent of his
injuries “l probably was halfway dead.” Exhibit 1 to Docket Entry No. 3, p. 133. Mr. Donley
was hospitalized over a month following the crime

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degree of the crime would have been appropriate The evidence adduced at trial supported the
crime for which Mr. Foreman was convicted, and there is no plausible reason to believe an
instruction to the jury for battery in the first degree would have changed the outcome of the trial.

ln summary, the petitioner fails to demonstrate that any of his three claims for relief are
meritorious The record shows Mr. Foreman’s trial counsel to zealously represent his client in
the face Of a difficult factual scenario. The positive identification of the petitioner as the
perpetrator from only moments after the crime occurred was the strongest evidence against Mr.
Foreman. His conviction resulted from the evidence, not from any attorney error.

Based upon the foregoing, we recommend the petition for writ of habeas corpus be
dismissed, and the relief requested be denied

IT IS SO ORDERED this _é_ day of September, 2002.

WQ/M//

 

UNIl`ED STATES MAGISTRATE JUDGE

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UN|TED STATES MAGISTRATE JUDGE
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H. DAV|D ¥OUNG Sept;ember 9 ’ 2002 (501)604-5130
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Mr. Frankie Evelyn Foreman
ADC # 112577

Wrightsville Unit

P.O. BOX 1000
Wrightsville, AR 72183

Re: Foreman v. Norris
Case No. 4:02CV00338

Dear Mr. Foreman:

Attached is a copy of the Findings and Recommendation I have
submitted to United States District Judge Susan Webber Wright with
respect to disposition of this case.

Any party may serve and file written objections to this
recommendation. Objections should be specific, and should include
the factual and legal basis for the objection. An original and two
copies of your objections must be received by the United States
District Court Clerk within eleven days of the date of this letter.
The copy will be furnished to the opposing party. Failure to file
timely objections may result in waiver of the right to appeal
questions of fact.

If you are objecting to the recommendation, and also desire to
submit new, different, or additional evidence, and to have a

hearing for this purpose before the district judge, you must, at
the same time that you file your written objections, include the

following:
l. Why the record made before the magistrate judge is inadequate.
2. Why the evidence to be proffered at the hearing before the

district judge (if such a hearing is granted) was not offered at
the hearing before the magistrate judge.

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Mr, Frankie Evelyn Foreman
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3. The details of any testimony desired to be introduced at the
hearing before the district judge in the form of an offer of proof,
and a copy, or the original, of any documentary or other
nontestimonial evidence desired to be introduced at the hearing
before the district judge.

From this submission, the district judge will determine the
necessity for an additional evidentiary hearing, either before the
magistrate judge or before the district judge.

Mail your objections and "Statement of Necessity" to:

Clerk, United States District Court
Eastern District of Arkansas

600 West Capitol Avenue, Suite 402
Little Rock, Arkansas 72201-3325

Very tru yours,

vt tv

H. David Young
United States Magistrate Judge

HDY/dw
Enclosures/as

cc: The Honorable Susan Webber Wright, United States District
Judge ’

Kelly K. Hill, Assistant Attorney General

File

